  Case 10-93904-BHL-11           Doc 216 Filed 01/16/11 EOD 01/17/11 00:51:27      Pg 1 of 2
                                 SO ORDERED: January 14, 2011.




                                  ______________________________
                                  Basil H. Lorch III
                                  United States Bankruptcy Judge




                             UNITED STATES BANKRUPTCY COURT                 SGENERIC (rev 11/2010)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                           Case Number:
       SSN: NA               EIN: NA                     10−93904−BHL−11
    Debtor(s)

                                             ORDER

     A(n) Motion to Appear Pro Hac Vice was filed with the Clerk of Court on January 7, 2011,
by Matthew J. Ochs.

      IT IS THEREFORE ORDERED that the Motion to Appear Pro Hac Vice is GRANTED.
                                               ###
         Case 10-93904-BHL-11                 Doc 216        Filed 01/16/11          EOD 01/17/11 00:51:27                Pg 2 of 2

                                CERTIFICATE OF NOTICE
 District/off: 0756-4                  User: kgoss2                       Page 1 of 1                          Date Rcvd: Jan 14, 2011
 Case: 10-93904                        Form ID: sgeneric                  Total Noticed: 2

 The following entities were noticed by first class mail on Jan 16, 2011.
 adb          +Eastern Livestock Co., LLC,   135 W. Market Street,   New Albany, IN 47150-3561
 op           +National Cattlemen’s Beef Association,   c/o Alice Devine,   6031 SW 37th St.,
                Topeka, KA 66614-5128
 The following entities were noticed by electronic transmission.
 NONE.                                                                                                               TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jan 16, 2011                                       Signature:
